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Treatment of Confidential Material and Highly Confidential Material during the hearing:
Defendants propose the following process:

   1. By 5:00 pm PDT on August 16, 2024, the parties will identify the subset of exhibits that
      the parties have a good faith basis to believe are likely to be used during direct or cross
      examinations in open court for the first two Kroger witnesses and the first two Albertsons
      witnesses in Plaintiffs’ anticipated witness order (“initial potential examination list”).
      The initial potential examination lists will represent a tailored, good-faith effort to
      identify actual trial exhibits.

          a. After these disclosures have been made, the parties and nonparties will meet and
             confer regarding the confidential nature of the information contained in the
             documents or related testimony, in an effort to reach agreements that will
             minimize the burden on the Court and the public with respect to sealing the
             courtroom and hearing exhibits.

          b. If the parties and non-parties are not able to reach agreement during their meet
             and confer, the party seeking sealing will submit a formal request for sealing to
             the Court, specifying the documents and/or testimony that warrants sealing, as
             well as the basis for the request, by 5:00 PM PDT on August 21, 2024. The Court
             can hear from counsel for both sides and any nonparty to resolve these requests
             before witness testimony begins.

   2. For all witnesses other than the first two witnesses for each Defendant, the parties must
      disclose potentially confidential exhibits to the other side and to any impacted nonparties
      no later than 72 hours before the anticipated direct examination.

   3. The parties will meet and confer regarding confidentiality before filing motions to seal
      and will indicate whether the motion is opposed in the motion.

Treatment of Confidential Material and Highly Confidential Material contained in post-
hearing findings of fact and conclusions of law: Defendants propose the following process:

   1. For any exhibits with confidentiality designations not previously resolved under the
      procedure for use in the courtroom, to the extent those exhibits are cited in the parties’
      post-hearing findings of fact and conclusions of law, the parties shall provide notice to
      any designating party or nonparty within three calendar days of filing.

   2. The designating party or nonparty must then file a motion to seal within 8 days of the
      parties’ notice.
